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 8                  IN THE UNITED STATES DISTRICT COURT
 9               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             ) Case No.: 13CR4510-JAH
                                           )
12                Plaintiff,               )
           vs.                             )
13                                         ) JUDGMENT DISMISSING
     NICOLE RICE,                          ) WITHOUT PREJUDICE THE
14                                         ) SUPERSEDING INDICTMENT
                                           ) AGAINST DEFENDANT NICOLE
15               Defendant.                ) RICE
                                           )
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            Upon motion of the UNITED STATES OF AMERICA, and good cause
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     appearing, IT IS HEREBY ORDERED that the Superseding Indictment against
19
     defendant NICOLE RICE is DISMISSED without prejudice.
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           IT IS SO ORDERED.
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     DATED: March 6, 2017
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24                                              _____________________
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                                                Hon. John A. Houston
                                                United States District Judge
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